                Case 2:18-cr-00014-LGW-BWC Document 552 Filed 01/15/19 Page 1 of 1
                              United States District Court
                                   SOUTHERN DISTRICT OF GEORGIA
                                        BRUNSWICK DIVISION

                        CHANGE OF PLEA/ENTRY OF PLEA MINUTES


Case No. CR218-14
United States of America
          vs.                                                    Greg Gilluly
                                                                 ____________________________________
John Eugene Overcash
11:05 - 11:37                                                    U. S. Attorney
___________________________                                      Ron Harrison
                                                                 ____________________________________
 Defendant/Age                                                   Attorney for Defendant


    ✔ Plea agreement (Received).                ✔ Defendant Sworn                 Counsel Waived.

       Plea agreement previously filed.

       Arraigned and plead _______________________ to count(s) _________________________________ .
    ✔ Plea of not guilty withdrawn and plea of _________________________________
                                                             Guilty              entered as to count(s)
         one (1) and twenty-four (24) of the indictment/information.
       ____________________________          indictment.
                                                                                    S/A Kennedy
    ✔ Factual basis Established. Oral. Plea
                    __________________      Accepted Witness for factual basis ____________________ .
                                       ____________
    ✔ Adjudication of guilt ________
                             Made.
    ✔ Referred to probation office for pre-sentence investigation Yes.
                                                                  ____
    ✔ Sentencing Scheduled for _________________________
                                       Late Date                         TBD
                                                         at ______________________________ .

       Bond Continued       ____           Bond modified to _________________________ .

       Bond set at _____________________      _________
    ✔ Bond not made defendant in jail.

    ✔ Defendant remanded to custody of United States Marshal.




Honorable Lisa Godbey Wood, U. S. District Court Judge           Date 01/15/2019
Court Reporter       Debra Gilbert                               Probation Officer Scot Riggs
Courtroom Deputy Clerk     Whitney Sharp                         U.S. Marshal Marty / Jason
